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EXHIBIT
   B
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125707/BK:mo/l -24-05                 AtJomey No. 41535
            IN THE UNITED STATES DISTRICT COURT
        NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JANELL RIEDL.
           Plaintiff,

      vs.                     No.
CHICAGO POUCE DEPARTMENT,MAGIST^TE a   JUDGE DENLOW
municipal corporation, and GERALD
BREIMON, sued individually and in his
ofllcial capacity.                    MAR 1 5 2005 ^0
                 Defendants.
                                COMPLAINT
     NOW COMES the Plaintiff, JANELL RIEDL, through her attorneys TH
LAW GROUP, UJC and in complaining of the defendants, CHICAGO POLI
DEPARTMENT, a municipal corporation, and GERALD BREIMON, slates
                              INTRODUCTION
     1.     This action is brought pursuant to 42 U.S.C, Section 1983 to redre
deprivation under color of law of Plaintiffs rights as secured by the United St
Constitution.
                        JURISDICTION AND VENUE
     1.     The plainti (Tbrings tliis action lo redress injury done to her by the
intentional deprivation of her rights under the Fourth. Sixth and Fourteenth
States Constitution, in violation or42 U.S.C. § 1983.
     2.     The jurisdiction of this court is proper under 28 U.S.C. § 1331 and
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28 U.S.C. § 1343.
     3.     The deprivation of constitutionally protected rights occurred within
Northern District of Illinois and venue is proper in this district.
                             Vmim
     1.     JANELL RIEDL is a natural person, resident of Chicago, Cook. Co
Illinois.
     2.     GERALD BREIMON, sued individually and in liis official capacity
Police Officer who, at all times pertinent hereto, acted in liis capacity as office
City of Chicago's PoHce Department and acted under color of law.
     3.     The City of Chicago is a mimicipal corporation, organized and exis
under and by virtue of the laws of the State of Ilhnois.
     4.     That on September 23,2003, the Plaintiff, JANELL RIEDL, was
driving her personal vehicle, a silver 2001 Chevy Tahoe, when she was pulled
BREIMON, a Chicago Police officer in a clearly marked Chicago Pohce vehi
     5.     That on September 23,2003, Defendant, GERALD BREIMON, an
employee of the Defendant, CITY OF CHICAGO seized tlie person ofJANEL
her against her will, forcibly removed her ftx)m vehicle she was operating, an
extended period of time, took photographs of the Plaintiff in a state of semi- u
nudity, and forcibly touched Plaintiff about her body.
     6.     At that time Plaintiff was obeying all laws and was not in violation
GERALD BREIMON and the CITY OF CHICAGO did not have a reasonable

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committed a crime.

     7.    That Plaintiff was falsely imprisoned until such time as the CITY O
released her, without charges, at which time. Plaintiff returned to her vehicle a
her residence.
     8.    That the CITY OF CHICAGO and GERALD BREIMON had no leg
justification, or probable cause to hold Plaintiff JANELL RIEDL in custody.
     9.    Tliat the false imprisonment of Plaintiff JANELL RIEDL proximate
injury of a physical and emotional nature which has damaged her and will, co
future.
     10.    As a direct and proximate result of the defendants' misconduct, pla
JANELL RIEDL sustained injuries of a personal and pecuniary nature.
     11.    The acts, conduct, and behavior of defendant, GERALD BREIMON
performed knowingly, intentionally, and mahciously, or with reckless and/or k
plaintiffs' rights, by reason of which plaintiffs arc entitled to an award of puni
               COUNT T-JANELL RIEDL v. GERALD BREIMON
                           § 1983-Excesslvc Force
     1.     Plainti ff repeats and reallege paragraphs I through 11 of tlie partie
section as thougli set forth in full herein.
     2.    Each act as alleged in this complaint were done by Defendant, GER
sued individually and in his olTicial capacity, under the color and pretense of t
regulations, customs and usages of the State of IlUinois, the City of Chicago, t


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under the autliority of his ofHice as a police officer for such city.
     3.     As described in the preceding paragraphs, the conduct of the Defen
BREIMON, acting under color of law. constituted excessive force in violation
Constitution.
     4. The misconduct described in this Count was objectively unreasonable
intentionally with willful indifference to Plaintiffs Constitutional rights.
      5. As a result of the above described wrongful infringement of Plainti IT
Constitutional rights. Plaintiff has suffered financial and other damages, incl
substantial menial stress and anguisli,
     Wherefore, Plaintiff, JANELL REIDL, respectfully requests that the Cou
her favor and against Defendant, GERALD BREIMON, individually and in h
awarding compensatory damages and attorneys' fees, along with punitive dam
Defendant, GERALD BREIMON, in his official capacity and any other relief
appropriate.
                               COUNT 11
                           ASSAULT and BATTERY
      1.    Plaintiff repeats and realleges paragraphs 1 tlirough 11 of the part
as though sctforth in full herein.
     2.     The above-described conduct placed plaintiff in fear of immediate
by the defendants CITY OF CHICAGO and GERALD BREIMON and constit
common law of Illinois.
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     3.     The above-described harmful, unjustified, and offensive contact by
defendants CITY OF CHICAGO and GERALD BREIMON upon plainti fTs co
the common law of Illinois.
     4.     The misconduct described in this Count was undertaken with malic
Willfiilncss, and reckless indifference to the rights of otiicrs.
     5.     As a result of the fear of immediate battery, plaintiff sustained dam
     6.     As a result of the offcivsive toucliing, plaintiff sustained damages.
     7.     The defendants, CITY OF CHICAGO and GERALD BREIMON, a
           plaintiff a
duty to not assault or batter her as alleged above and violated that duty which
the plaintiffs injuries.
     8.     The defendants acted in concert with a coimnon purpose and contr
to tiic same indivisible injuries sustained by the plaintiff.
     WHEREFORE, plaintiff JANELL RIEDL requests that judgment be ente
against the defendants CfTY OF CHICAGO and GERALD BREIMON, jointl
site be awarded compensatory damages and costs against tlie defendants, and
Court deems just.
                              COUNT ITT
                 42 U.S.C. § 1983; False Arrest/Unlawful Detention
     1. Each of the foregoing paragraplis is incorporated as if restated fully he
     2. As described more fully above, the Defendant, GERALD BREIMON,

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unlawfully detained Plaintiff without justification and without probable cause
     3. The misconducl described in this Count was undertaken with malice,
indifference to the rights of Plainti 0', and others.
     4. As a rcsuh of the above-described wrongful infringement of PlaitnifPs
suffered damages, including but not limited to mental distress and anguish.
     WHEREFORE, plaintiff JANELL RTEDL requests that judgment be ent
against the defendant GERALD BREIMON, individually and in his official ca
awarded compensatory damages and attomcys fees against the defendant, GER
along with punitive damages against the Defendant, GERALD BRIEMON, an
this Court deems just.

                   state Claim; False Arrest/tJiilawful Detention
     1. Each of the foregoing paragraplis is incorporated as if restated fully he
     2. As described more fully above, the Defendant, GERALD BREIMON,
unlawftiUy detained Plainti (T without justification and without probable cause
     3. The misconduct described in this Count was undertaken with malice, w
indifference to the rights of Plainti fl', and otlicrs
     4. The misconducl described in this Count was undertaken by Officer GE
within the scope of his employment such that his employer, CITY OF CHICAG
actions.
     5. As a result of the above-described wrongful infringement of Plaitniff s
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suffered damages, including but not limited to menial distress and anguish.
     WHEREFORE, plaintiff JANELL RIEDL requests that judgment be ente
against the defendants, CFFY OF CHICAGO and GERALD BREIMON, indiv
capacity, and that she be avvarded compensatory damages and attorneys fees a
GERALD BRIEMON, along with punitive damages against the Defendant, GE
and such further relief as this Court deems just.




     1.     Plaintiff repeats and reallege paragraphs 1 through 11 of the partie
section as though set forth in full herein.
     2.    That at the aforesaid time and place, and at all relevant times herein
GERALD BREIMON did then and there negligently perform acts causing seve
the Plaintiff, JANELL RIEDL.
     3.    At the aforesaid time and place and at all relevant times herein,
Defendant, GERALD BREIMON owed a duty to the Plaintiff, and to the publi
due and proper care in the performance of said employment duties.
     4.     That as a direct and proximate result of her depression and emotion
Plaintiff has been unable to perform her daily activities. Plaintiff has experien
a result of her emotional illness and has become disabled as a result therefrom
     WHEREFORE, the Plaintiff, JANELL RIEDL, prays for judgment again
GERALD BREIMON. in an amount in excess of THIRTY THOUSAND DOL

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plus costs.




     1.       Plaintiff repeats and reallege paragraphs 1 through 11 of the partie
section as though set forth in full herein.
     2.       That at the aforesaid time and place, and at all relevant times herei
Sargent GERALD BREIMON did then and there commit intentional actions c
distress to the Plaintiff, JANELL RIEDL.
     3.       At the aforesaid time and place and at all relevant times herein,
Defendant, GERALD BREIMON owed a duty to the Plauitiff, and to the publ
due and proper care in the performance of said employment duties.
     4.       That at the aforesaid time and place and all relevant times herein, t
GERALD BREIMON, breached tlie aforesaid duty to the Plaintiff through on
negligent and careless acts and/or omissions as alleged in paragraph one.
     5.       As a direct and proximate result of one or more of the aforesaid neg
careless acts and/or omissions of the Defendants, Plaintiff, JANELL RIEDL,
resulted in depression, agitation, and serious emotional distress tliat was cause
the intentional acts by the Defendant, Sargent GERALD BREIMON, on or ab
2003.
     6.       That as a direct and proximate result of her depression and emotion


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Plaintiff has been unable lo perform her daily activities. Plaintiff has experien
a result of her emotional illness and has become disabled as a result therefrom
     WHEREFORE, the Plaintiff, JANELL RIEDL, pra>« for judgment ag
GERALD BREIMON, for compensatory and punhive damages plus costs in e




     1.     At all relevant times herein, the Defendant, CITY OF CHICAGO,
mtmicipal corporation, orgaiuzed and authorized to do business in the State of
     2.     Plaintiff repeats and reallege paragraphs 1 through 11 of the parti
section as though set forth in full herein.
     3.    That at or about September 23, 2003, GERALD BREIMON, an emp
authorised or ostensible agent of the Defendant, CITY OF CHICAGO, a mun
performed work duties with indifference and with a conscious disregard for th
while performing a traffic stop and/or investigation on JANELL RIEDL at or
Chicago, Cook County, Illinois in the course and scope of his employment wit
CHICAGO.
     4.     That at the aforesaid time and place, and at all relevant times herei
agent of the Defendant, CITY OF CHICAGO, did then and there wilfully and
imprison JANELL RJLEDL witliout provocation causing severe emotional dist
JANELL RTEDL.
     5.     At the aforesaid time and place and at all relevant times herein, De

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OF CWICAGO, as owner and principal through ils agent, employee and/or au
agent owed a duty lo the Plaintiff, and to the public generally, lo exercise due
performance of said employment duties.
     6.     Thai at the aforesaid time and place and all relevant times herein, t
CITY OF CHICAGO, breached the aforesaid duty to the Plaintiff through one
wilful and w^ton acts and/or omissions as alleged in paragraph two.
     7.     As a direct and proxunate result of one or more of the aforesaid wi
acts and/or omissions of tlic Defendants, Plaintiff, JANELL RIEDL, suffered
depression, agitation, and serious emotional distress that was caused in whole
conscious disregard and indifference in the performance of the duties caused
OF CHICAGO, a municipal corporation, by and tluough its employee, agent,
about September 23, 2003.
     8.     That as a direct and proximate result of he! depression and emotion
Plaintiff has been unable to perform her daily activities. Plaintiff has experien
a result of her emotional illness and has become disabled as a result therefrom
     WHEREFORE, the Plaintiff, JANELL RIEDL, prays for judgment agai
CITY OF CHICAGO, a municipal corporation, in an amount in excess of TH
DOLLARS ( 330,000.00) plus costs.


           v.
     1.     Plaintiff repeats and reallege paragraphs 1 through 11 of the part

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section as though set forth in full herein.
     2.    Illinois law provides pursuant to 735 ILCS 10/2-302 that public ent
to pay any tort judgment for compensatory damages for which employees arc l
their employment activities.
    3.     The Defendant, GERALD BREIMON, is and was an employee of th
Chicago, who acted within the scope of their employment in committing the m
herein.


                                           Attorney for Plaintiff




Vrdolyak Law Group, LLC #41535
By: Edward J. Vrdolyak
Attorney for Plaintiff
9618 South Commercial Ave.
Chicago, 11.60617
773-731-3311




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o.(oi«)os,   Case: l:05-cv-01527 Document #: 21 Filed: 01/06/06 Page 1 of 1 Pa
                  United States District Court, Northern District of Illinois
  NuBCOf AnigacdJaditSuzanne
    Judge                          B. ConlonSitttagJadge if Other
                                             Ibta Asiigned Judge
                           05 C 1527                   1/6/2006
                              JANELL RIEDL vs. CHICAGO POLICE DEPT. et al.


 DOCKET ENTRY TEXT
 PlaintifPs agreed motion to dismiss pursuant to settlement is granted. This action
 pursuant to settlement. The motion will not be heard on January 12, 2006 as noti
 submission on January 26,2006 is vacated.



                                                                           Docketing to nuil notices.




                                                                Counroom Deputy    CB
                                                                      Initials:




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               IN THE UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
JANELL RIEDL,
            Plaintiff,
     vs.                                 No. 05 C 1527
CHICAGO POLICE DEPARTMENT, aJudge Suzanne B. Conlon
municipal corporation, and GERALD BREIMON,
sued individually and in his official capacity,
     Defendants.
           AGREED MOTION TO DISMISS PURSUANT TO SETTLEMEN
     NOW COMES the Plaintiff JANELL RIEDL by and through her attorn
VRDOLYAK LAW GROUP, LLC. and moving to dismiss the above captioned
follows:
     All matters in controversy have been resolved between all parties and al
executed releases and settlement agreements calling for this matter to be dism
prejudice, and with each party bearing its own costs and fees.
     WHEREFORE, the Plaintiff JANELL RIEDL prays this Honorable Co
dismissing this matter as to Defendants, with prejudice, retaining jurisdiction
terms of the settlement.
                                          Respectfully submitted,
                                          THE VRDOLYAK LAW GROUP, LLC.

                                          By: /$/ Dennis E. Both (electronically filed
                                               Dennis E. Both

THE VRDOLYAK LAW GROUP, LLC.
By: Dennis Both
741 N. Dearborn Street
Chicago, IL 60610
(312)482-8200
